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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  Carthan, et al. v. Snyder et al.
      Case No. 16-10444
  ________________________________/

  AMENDED SCHEDULING ORDER FOR CLASS ACTION TRIAL

       The Court sets forth the schedule in the class action case, as set

 forth below.
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   Event                                      Deadline/ Date Range
   Defendants’ Expert Depositions (shall      March 17, 2023 to April
   be limited only to those experts for       14, 2023
   whom the parties submit new or
   additional reports)
   Reply Expert Report Depositions            April 14, 2023 to April 21,
                                              2023
   Plaintiffs’ Reply to Motion to Strike      May 4, 2023
   Daubert and Summary Judgment               May 19, 2023
   Motions
   Daubert and Summary Judgment            June 30, 2023
   Response Briefs
   Daubert and Summary Judgment Reply July 19, 2023
   Briefs
   Oral Argument on Daubert Motions        September 11, 2023
                                           10:30am cont’d if needed
                                           on September 12, 2023
                                           10:30am
   Oral Argument on Summary Judgment September 13, 2023
   Motions                                 10:30am
                                           cont’d if needed on
                                           September 14, 2023
                                           10:30am
   Deadline for Parties to Submit Joint    November 27, 2023
   Proposed Jury Questionnaire to the
   Court (via e-mail)
   Status Conference on Jury               November 30, 2023
   Questionnaire Content                   10:00am
   Motions in Limine—Opening Briefs        December 8, 2023
   Deadline for Parties to Ship 200 copies December 20, 2023
   of Juror Questionnaires to Judge Levy’s
   Chambers in Ann Arbor, Michigan
   Motions in Limine—Response Briefs       December 22, 2023
   Motions in Limine—Reply Briefs          January 2, 2024




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   Summoned Jurors to Courthouse to         January 17–18, 2024
   Answer Questionnaires (Court Staff
   Only) (Jury Department takes
   approximately one week to process
   questionnaires and make them
   available to counsel and the Court)
   Deposition Designations (due for         Parties to propose
   exchange between parties)                deadline
   Objections to Deposition Designations    Parties to propose
   and Counter-Designations (due for        deadline
   exchange between parties)
   Deadline for Submitting Deposition       January 22, 2024
   Designations Matrices and Highlighted
   Transcripts to the Court (via e-mail)
   Parties to File Jointly Proposed Jury    January 22, 2024
   Instructions and Verdict Form
   Parties to Submit Joint Final Pretrial   January 22, 2024
   Order (use Utilities function in CM/ECF
   and e-mail)
   Hearing on motions in limine (the Court January 22, 2024
   will notify the parties in advance as to 10:30am
   which motions will be argued)            cont’d if needed on
                                            January 23, 2024
                                            10:30am
   Parties to Submit Jointly Proposed Voir January 26, 2024
   Dire Questions and Joint Statement of
   the Case (via e-mail)
   Status Conference Regarding Excusals February 1, 2024
   Based on Jury Questionnaire Responses 10:30am
   Final Pretrial Conference and Hearing February 6, 2024
   on proposed Jury Instructions and        10:00am
   Verdict Form                             cont’d if needed on
                                            February 7, 2024
                                            10:00am
   Deadline for Court to Inform Jury Dept February 8, 2024
   of Excusals Based on Questionnaires
   (Court Staff Only)

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   Hearing Regarding Misc. Pretrial           February 12, 2024
   Matters (if needed)                        10:30am
   First Day of Trial/Voir Dire               February 13, 2024
                                              8:30am

       Hearings will be conducted in person in Ann Arbor, Michigan

 unless the Court notifies the parties in advance otherwise.

       IT IS SO ORDERED.

 Dated: May 3, 2023                        s/Judith E. Levy
      Ann Arbor, Michigan                  JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on May 3, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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